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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Bruce Rankin,                                            Case No. 21-cv-1560 (MJD/LIB)

                       Plaintiff,

       v.                                                           ORDER

Direct Recovery Services, LLC, et al.,

                       Defendants.


       This matter comes before the undersigned United States Magistrate Judge upon the

routine supervision of the cases that pend before the Court, pursuant to a general assignment

made in accordance with the provisions of 28 U.S.C. § 636.

       It appears that more than sixty (60) days have elapsed since Defendant Direct Recovery

Services, LLC waived service in the present case, and Defendant Direct Recovery Services, LLC

has yet to respond to the Complaint or otherwise enter an appearance in the present case.

(Waiver of Service [Docket No. 8]).

       After waiver of service pursuant to Rule 4(d), the Federal Rules of Civil Procedure

require that a defendant file an answer or responsive motion within sixty (60) days of said

waiver. See, Fed. R. Civ. P. 12. The Court does not permit the parties to extend the time for

filing an answer or other pleading by agreement, although the Court will liberally consider an

initial motion for extension of time, in the absence of objection by the opposing party.

       Accordingly, IT IS HEREBY ORDERED THAT:

       1. Within three (3) business days of the date of this Order, counsel for Plaintiff shall

            notify Defendant Direct Recovery Services, LLC that it is required to file responsive

            pleadings or move for an extension of time to do so;
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      2. If Defendant Direct Recovery Services, LLC fails to file responsive pleadings or

          move for an extension of time to do so within five (5) business days of having been

          given the notice required by Paragraph 1, Plaintiff shall file an application of default

          as to Defendant Direct Recovery Services, LLC or advise the Court in writing of any

          good cause for not doing so; and

      3. If Plaintiff fails to comply with the foregoing within twenty (20) days of the date of

          this Order, the Court will recommend that the case be dismissed for lack of

          prosecution as it relates to Defendant Direct Recovery Services, LLC.




Dated: March 16, 2022                                      s/Leo I. Brisbois
                                                           Hon. Leo I. Brisbois
                                                           U.S. MAGISTRATE JUDGE




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